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14                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
15
     Cody Bowlay-Williams, individually and on            Case No. ______________
16   behalf of others similarly situated,
17                                                        CLASS AND COLLECTIVE ACTION
                                   Plaintiff,             COMPLAINT FOR DAMAGES,
18                                                        RESTITUTION, AND INJUNCTIVE
            v.                                            RELIEF
19
     Google, LLC,                                         (1) Failure to Pay Overtime Compensation
20                                                        in Violation of the Fair Labor Standards
                                   Defendant.
21                                                        Act (29 U.S.C. § 201, et seq.)

22                                                        (2) Failure to Pay Overtime Compensation
                                                          in Violation of California Law (Lab. Code
23                                                        §§ 510, 1194, and 1198, and IWC Wage
                                                          Order(s))
24
25                                                        (3) Failure to Provide Itemized Wage
                                                          Statements (Lab. Code § 226)
26
                                                          (4) Failure to Pay Earned Wages Upon
27                                                        Discharge, Waiting Time Penalties in
                                                          Violation of Labor Code §§ 201-203
28
                                                    -1-
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1                                                             (5) Violation of California Business and
2                                                             Professions Code § 17200 et seq.

3                                                             (6) Breach of Contract

4
                                       PRELIMINARY STATEMENT
5
             1.      This is a putative class and collective action brought by individual and
6
     representative Plaintiff Cody Bowlay-Williams (“Plaintiff”), on behalf of himself and the
7
     proposed California Class and nationwide FLSA Collective. Plaintiff and the putative class
8
     members are or were employed by Defendant Google, LLC (“Defendant”) as non-exempt
9
     employees eligible for commission or other non-discretionary incentive pay and were denied
10
     proper compensation as required by federal and state wage and hour laws. These employees are
11
     similarly situated under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 216(b) and Rule 23
12
     of the Federal Rules of Civil Procedure.
13
             2.      The FLSA Collective is made up of all employees Defendant classified as non-
14
     exempt/overtime eligible who Defendant paid commissions and/or other incentive pay, such as
15
     restricted stock units (also referred to by Defendant as “Google Stock Units” or “GSUs”), who
16
     worked for Defendant at any time within three years prior to this action’s filing date through the
17
     trial of this action (the “Collective Period”).
18
             3.      The California Class is made up of employees Defendant classified as non-
19
     exempt/overtime eligible who Defendant paid commissions and/or other incentive pay, such as
20
     restricted stock units (also referred to by Defendant as “GSUs”), who worked for Defendant in
21
     the state of California at any time within four years prior to this action’s filing date through the
22
     trial of this action (the “California Class Period”).
23
             4.      During the Collective Period, Defendant improperly calculated non-exempt
24
     employees’ regular rate of pay, and therefore failed to pay proper overtime compensation to
25
     Plaintiff and each member of the FLSA Collective as required by federal law. Plaintiff seeks
26
     relief for himself and for the FLSA Collective under the FLSA to remedy Defendant’s failure to
27
     pay appropriate overtime compensation.
28
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1           5.      During the California Class Period, Defendant improperly calculated non-exempt
2    employees’ regular rate of pay, and therefore failed to pay overtime compensation to Plaintiff and
3    each member of the California Class as required by California law. As a result of this failure to
4    pay proper overtime, Defendant failed to pay all wages due at separation. Defendant also failed
5    to provide complete and accurate wage statements. Plaintiff seeks relief for himself and the
6    California Class under California law to remedy Defendant’s failure to pay appropriate overtime
7    and premium pay, to promptly pay all wages at the time of separation, and to provide accurate
8    wage statements, in addition to equitable and injunctive relief.
9                                              THE PARTIES
10          6.      Plaintiff is an individual residing in California. Defendant employed him as an
11   Account Manager from approximately May of 2019 until approximately August of 2021.
12   Plaintiff worked in Defendant’s office in Austin, Texas from approximately May of 2019 to
13   December of 2020 and remotely from his home in San Francisco County, California from
14   approximately January of 2021 to August of 2021.
15          7.      Defendant is a wholly-owned subsidiary of Alphabet, Inc., an American
16   multinational technology conglomerate holding company. It is Alphabet’s largest subsidiary and
17   is a holding company for Alphabet’s Internet properties and interests. Defendant specializes
18   in Internet-related services and products, which include online advertising technologies, a search
19   engine, cloud computing, software, and hardware.
20          8.      Defendant is a California company, incorporated in California, with its
21   headquarters and principal place of business in Mountain View, California (Santa Clara County).
22          9.      Defendant’s gross annual sales made or business done has been $500,000.00 or
23   greater at all times relevant herein. Defendant operates in interstate commerce by performing its
24   services throughout the United States.
25                                    JURISDICTION AND VENUE
26          10.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 as this case
27   is brought under the FLSA, 29 U.S.C. §§ 201 et seq. Plaintiff signed a consent form to join this
28   lawsuit, which is attached as Exhibit A. As this case proceeds, it is likely that other individuals
                                                     -3-
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1    will file consent forms and join as opt-in plaintiffs. This Court also has supplemental jurisdiction
2    over Plaintiff’s California state law claims pursuant to 28 U.S.C. § 1367.
3            11.     Venue is proper in the United States District Court, Northern District of California
4    pursuant to 28 U.S.C. § 1391, because Plaintiff worked and resides in San Francisco, California
5    (San Francisco County), and because a substantial part of the events giving rise to the claims
6    occurred in this district. This case is properly assigned to the San Francisco Division of the
7    Northern District.
8                                      FACTUAL ALLEGATIONS
9            12.     During the applicable statutory period, Plaintiff, the FLSA Collective, and
10   California Class worked as hourly non-exempt employees for Defendant. Defendant employed
11   Plaintiff within the meaning of the FLSA and California law.
12           13.     Plaintiff, the FLSA Collective, and California Class are or were hourly-paid, non-
13   exempt employees eligible for overtime pay. As a part of his compensation, in addition to regular
14   hourly pay, Defendant paid Plaintiff incentive earnings in the form of commissions, which it paid
15   him on a quarterly basis. Defendant also provided Plaintiff with restricted stock units (GSUs).
16   Defendant offered these stocks units as non-discretionary “equity compensation.” Upon
17   information and belief, Defendant paid the FLSA Collective and California Class in the form of
18   restricted stock units as well.
19           14.     The FLSA and California law require covered employers, such as Defendant, to
20   compensate all non-exempt employees such as Plaintiff, and others similarly situated, at a rate of
21   not less than 1.5 times their regular rate of pay, for work performed in excess of 40 hours per
22   workweek (state and federal law) and/or eight (8) hours per day (state law).
23           15.     Under state and federal law, an employee’s “regular rate” of pay is not limited to
24   an employee’s hourly rate. The “regular rate” also includes an hourly rate derived from non-
25   discretionary incentive compensation.
26           16.     For purposes of federal law, the regular rate on non-discretionary incentive
27   compensation is determined by dividing the payment by the total number of hours worked during
28   the period in which that compensation was earned. Overtime is due at one-half that rate for all
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1    overtime hours worked that period. This overtime pay is in addition to the overtime pay based on
2    the employee’s hourly rate.
3           17.      For purposes of California state law, the regular rate on additional non-
4    discretionary incentive compensation is determined by dividing the payment by the total number
5    of non-overtime hours worked during the period in which that compensation was earned.
6    Overtime is due at one and one-half times that rate for overtime hours worked (and twice that rate
7    for double-time hours worked). This overtime pay is in addition to the overtime pay based on the
8    employee’s hourly rate.
9           18.      Upon information and belief, Defendant paid overtime pay to Plaintiff, the FLSA
10   Collective and the California Class based on employees’ hourly rate, without calculating the
11   regular rate based on all non-discretionary incentive pay or GSUs. Because Defendant
12   miscalculated the regular rate, Defendant suffered and permitted Plaintiff, the FLSA Collective,
13   and California Class to work more than 40 hours per week and/or eight (8) hours per day without
14   receiving proper overtime pay.
15          19.      For example, on the paystub with a pay date of February 19, 2021, Defendant paid
16   Plaintiff $103,021.88 in commissions. This commission payment was for commissions earned in
17   the Fourth Quarter (q4) of 2020. During this same pay quarter, Plaintiff worked 35 hours of
18   overtime. Defendant also issued Plaintiff a payment of GSUs for the Fourth Quarter. Defendant
19   paid Plaintiff 1.5 times his hourly rate for these overtime hours but did not include any additional
20   overtime pay resulting from the commission and/or stock unit payments.
21          20.      Defendant’s policy and practice of failing to include non-discretionary incentive
22   earnings, and/or GSUs, when calculating the regular rate of pay deprived Plaintiff, and others
23   similarly situated, of the proper overtime wages guaranteed by law.
24          21.      Plaintiff and those similarly situated worked in excess of forty (40) hours per week
25   and/or eight (8) hours per day for Defendant on one or more occasions without receiving proper
26   overtime pay.
27          22.      Because Defendant did not pay Plaintiff and other non-exempt employees at the
28   appropriate overtime, Defendant’s wage statements did not accurately reflect all rates of pay and
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1    did not correctly itemize the hours worked at each rate of pay.
2           23.        Plaintiff’s employment with Defendant ended in August of 2021. However,
3    Defendant failed to pay all wages that were due at that time, including legally required overtime
4    premiums at the appropriate rate. More than 30 days have passed since the end of Plaintiff’s
5    employment, and Defendant still has not paid all wages that are due and owing.
6           24.        Defendant’s conduct, as set forth in this Complaint, was willful, knowing and
7    intentional, and in bad faith. Defendant operated under a scheme that has caused significant
8    damages to Plaintiff and the similarly situated individuals.
9                                 COLLECTIVE ACTION ALLEGATIONS
10          25.        Plaintiff brings this action on behalf of himself and other similarly situated
11   employees as authorized under the FLSA, 29 U.S.C. § 216(b). The employees similarly situated
12   are as follows:
13          26.        FLSA Collective:       All    employees     Defendant     classified   as    non-
14   exempt/overtime eligible who Defendant paid commissions and/or other incentive pay, such
15   as GSUs, who worked for Defendant at any time within three years prior to this action’s filing
16   date through trial.
17          27.        Defendant operated under a scheme to deprive these employees of overtime
18   compensation by failing to properly compensate them for overtime hours worked.
19          28.        Defendant is liable under the FLSA for failing to properly compensate Plaintiff
20   and the FLSA Collective, and as such, notice should be sent to the FLSA Collective. There are
21   numerous similarly situated current and former employees of Defendant who have been denied
22   overtime pay in violation of the FLSA who would benefit from the issuance of Court-supervised
23   notice of this lawsuit and the opportunity to join. Those similarly situated employees are known
24   to Defendant and are readily identifiable through Defendant’s records.
25                                    CLASS ACTION ALLEGATIONS
26          29.        Plaintiff brings this action on behalf of himself and as a class action on behalf of
27   all similarly situated employees. The California Class is defined as follows:
28          30.        California Class:      All employees Defendant classified as non-exempt/overtime
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1    eligible who Defendant paid commissions and/or other incentive pay, such as GSUs, who worked
2    for Defendant in the state of California at any time within four years prior to this action’s filing
3    date through the trial.
4            31.     This action is properly brought as a class action pursuant to the class action
5    procedures of Rule 23 of the Federal Rules of Civil Procedure.
6            32.     The class is so numerous that joinder of all members is impractical. While the
7    exact number and identities of class members are unknown at this time, and can only be
8    ascertained through appropriate discovery, Plaintiff believes that there are more than fifty (50)
9    class members.
10           33.     This litigation is properly brought as a class action because of the existence of
11   questions of fact and law common to Plaintiff and other members of the class which predominate
12   over any questions affecting only individual members, including:
13           a.      Whether Defendant is liable to members of the class described above for violations
14           of the applicable labor code provisions;
15           b.      Whether Defendant improperly calculated the regular rate for purposes of overtime
16           payments to members of the class;
17           c.      Whether Defendant knowingly and intentionally failed to provide accurate wage
18           statements;
19           d.      Whether Defendant willfully failed to pay all wages due at termination; and
20           e.      Whether Defendant engaged in unfair competition.
21           34.     This litigation is properly brought as a class action because Plaintiff’s claims are
22   typical of the claims of the class members, since all such claims arise from Defendant’s standard
23   policies and practices.
24           35.     Like all class members, Plaintiff was damaged by Defendant’s system-wide
25   policies and practices of improperly calculating the regular rate, failing to provide compliant
26   wage statements, and failing to pay all wages due at separation from employment, thus giving rise
27   to legal remedies under the California Labor Code.
28           36.     Plaintiff has no interests antagonistic to the interests of other class members.
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1           37.     Plaintiff is committed to the vigorous prosecution of this action and retained
2    competent counsel experienced in class action litigation. Accordingly, Plaintiff is adequate and
3    will fairly and adequately protect the interests of the class.
4           38.     A class action is an appropriate and superior method for the fair and efficient
5    adjudication of the controversy, particularly in the context of wage and hour litigation where
6    individual plaintiffs lack the financial resources to vigorously prosecute separate lawsuits in
7    federal court against large corporate defendants.
8           39.     Class certification is also fair and efficient because prosecution of separate actions
9    by individual class members would create a risk of differing adjudications with respect to such
10   individual members of the classes, which as a practical matter may be dispositive of the interests
11   of other members not parties to the adjudication, or substantially impair or impede their ability to
12   protect their interests. Plaintiff anticipates there will be no difficulty in the management of this
13   litigation. This litigation presents claims under applicable Labor Code provisions of a type that
14   have often been prosecuted on a class wide basis, and the manner of identifying the class
15   members and providing any monetary relief to it can easily be effectuated from a review of
16   Defendant’s records.
17                                    INDIVIDUAL ALLEGATIONS
18          40.     Defendant entered a contract with Plaintiff to compensate him commissions, in
19   addition to his hourly pay, under a Sales Bonus Plan.
20          41.     In the fourth quarter (Q4) of 2020, following the terms of the Bonus Plan, Plaintiff
21   earned approximately $179,000.00 in commissions.
22          42.     However, Defendant did not follow the terms of its agreement with Plaintiff and
23   paid him less than what he was owed. Specifically, Defendant capped Plaintiff’s commission
24   earnings at 1,000 percent of his quarterly target goal. As a result, Defendant compensated
25   Plaintiff approximately $103,000.00 in commissions, resulting in a shortage of approximately
26   $76,000.
27
28
                                                        -8-
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1            43.       Plaintiff and Defendant entered no agreement that Defendant could cap these
2    earned commissions. As a result, Defendant breached its agreement with Plaintiff and denied
3    Plaintiff the commissions to which he is entitled.
4                                       FIRST CLAIM FOR RELIEF
5                          FAILURE TO PAY OVERTIME UNDER THE FLSA
6                                            29 U.S.C. §§ 201 et seq.
7                               (On Behalf of Plaintiff and the FLSA Collective)
8            44.      Plaintiff and the FLSA Collective allege and incorporate by reference the
9    allegations in the preceding paragraphs.
10           45.      At all relevant times, Defendant was an “employer” engaged in interstate
11   commerce and/or in the production of goods for commerce, within the meaning of the FLSA, 29
12   U.S.C. § 203. At all relevant times, Defendant employed employees, including Plaintiff and each
13   member of the FLSA Collective.
14           46.      Plaintiff consents in writing to be a part of this action, pursuant to 29 U.S.C. §
15   216(b). As this case proceeds, it is likely that other individuals will sign consent forms and join
16   as plaintiffs.
17           47.      The FLSA requires all covered employers, such as Defendant, to compensate all
18   non-exempt employees at a rate of not less than one and one-half times their regular rate of pay
19   for work performed in excess of forty hours per work week.
20           48.      The regular rate of pay is not limited to hourly pay, but also includes the rate
21   derived from non-discretionary incentive payments and other forms of compensation, including
22   GSUs.
23           49.      Plaintiff and the FLSA Collective are entitled to be paid overtime compensation, at
24   the proper rate, for all hours worked. By miscalculating the regular rate and failing to
25   compensate Plaintiff and the FLSA Collective proper overtime compensation, Defendant violated
26   the FLSA, 29 U.S.C. §§ 201 et seq.
27           50.      The foregoing conduct, as alleged, constitutes a willful violation of the FLSA,
28   within the meaning of 29 U.S.C. § 255(a).
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1            51.     Plaintiff, on behalf of himself and the FLSA Collective, seeks damages in the
2    amount of all unpaid overtime compensation owed to himself and the FLSA Collective,
3    liquidated damages as provided by the FLSA, 29 U.S.C. § 216(b), interest, and such other legal
4    and equitable relief as the Court deems just and proper.
5            52.     Plaintiff, on behalf of himself and the FLSA Collective, seeks recovery of
6    attorneys’ fees and costs to be paid by Defendant, as provided by the FLSA, 29 U.S.C. § 216(b).
7                                     SECOND CLAIM FOR RELIEF
8                   FAILURE TO PAY OVERTIME UNDER CALIFORNIA LAW
9                        Cal. Wage Order No. 4; Cal. Labor Code §§ 510, 1194, 1198
10                             (On Behalf of Plaintiff and the California Class)
11           53.     Plaintiff alleges and incorporates by reference the allegations in the preceding
12   paragraphs.
13           54.     At all times relevant to this action, Plaintiff and members of the California Class
14   were employed by Defendant within the meaning of the California Labor Code.
15           55.     By the course of conduct set forth above, Defendant violated Cal. Labor Code §§
16   510, 1194, and 1198.
17           56.     The California Labor Code and relevant Wage Order(s) require employers, such as
18   Defendant, to pay overtime compensation to all non-exempt employees. Overtime must be paid at
19   1.5 times the employee’s regular rate for all hours over 8 in day, 40 in a week, and up to 8 on the
20   seventh consecutive day of work. Overtime must be paid at 2 times the employee’s regular rate
21   for all hours over 12 in a day and over 8 on the seventh consecutive day of work.
22           57.     The regular rate of pay is not limited to hourly pay, but also includes the rate
23   derived from non-discretionary incentive payments and other forms of compensation, including
24   restricted stock units.
25           58.     Plaintiff and members of the California Class were non-exempt employees entitled
26   to be paid proper overtime compensation for all overtime hours worked.
27           59.     During the relevant statutory period, Plaintiff and Class Members worked in
28   excess of eight (8) hours in a work day and/or forty (40) hours in a work week for Defendant.
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1             60.   During the relevant statutory period, Defendant had a policy and practice of
2    miscalculating the regular rate of pay, thereby failing and refusing to pay proper overtime pay to
3    Plaintiff and members of the California Class for overtime hours worked.
4             61.   As a result of Defendant’s failure to pay wages earned and due, Defendant violated
5    the California Labor Code.
6             62.   As a direct and proximate result of Defendant’s unlawful conduct, as set forth
7    herein, Plaintiff and the California Class have sustained damages, including loss of earnings for
8    hours of overtime worked on behalf of Defendant, prejudgment interest, and attorneys’ fees and
9    costs.
10                                    THIRD CLAIM FOR RELIEF
11            FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE STATEMENTS
12                                           Cal. Labor Code § 226
13                            (On Behalf of Plaintiff and the California Class)
14            63.   Plaintiff alleges and incorporates by reference the allegations in the preceding
15   paragraphs.
16            64.   Defendant knowingly and intentionally failed to provide Plaintiff and the
17   California Class with timely, accurate, itemized wage statements showing all items required
18   pursuant to California Labor Code § 226(a), including, but not limited to, the proper rates of pay
19   and hours worked at each rate of pay.
20            65.   Pursuant to Labor Code section 226(e)(2), Plaintiff and members of the California
21   Class suffered injury because, due to Defendant’s failure to provide the required information,
22   Plaintiff and California Class could not promptly and easily determine, among other things, their
23   rates of pay and hours worked at each rate of pay.
24            66.   Plaintiff, individually and on behalf of the California Class, are entitled to and do
25   seek injunctive relief requiring Defendant to comply with Labor Code § 226(a) and further seek
26   the amount provided under Labor Code § 226(e), including the greater of all actual damages or
27   fifty dollars ($50) for the initial pay period in which a violation occurs and one hundred dollars
28   ($100) for each violation in a subsequent pay period, plus attorneys’ fees and costs.
                                                    -11-
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1                                   FOURTH CLAIM FOR RELIEF
2                                    WAITING TIME PENALTIES
3                                    California Labor Code §§ 201-203
4                             (On Behalf of Plaintiff and the California Class)
5           67.     Plaintiffs alleges and incorporate by reference the allegations in the preceding
6    paragraphs.
7           68.     California Labor Code sections 201 and 202 require an employer to pay its
8    employees all wages due within the time specified by law. Labor Code section 203 provides that
9    if an employer willfully fails to pay such wages, the employer must continue to pay the subject
10   employee’s wages until the back wages are paid in full or an action is commenced, up to a
11   maximum of thirty days of wages.
12          69.     Plaintiff and other Class Members who ceased employment with Defendant are
13   entitled to unpaid compensation, but to date have not received such compensation, more than 72
14   hours after the cessation of their employment.
15          70.     Defendant failed to pay the earned and unpaid wages of Plaintiff and Class
16   members within 30 days from the time such wages should have been paid under Labor Code
17   sections 201 and 202.
18          71.     Defendant willfully failed to timely compensate Plaintiff and other Class Members
19   at the proper overtime rate for overtime hours worked. As a result, Defendant is liable to Plaintiff
20   and other Class members whose employment ended within the year prior to the initial filing of
21   this suit for waiting time penalties under California Labor Code section 203.
22                                    FIFTH CLAIM FOR RELIEF
23                           CALIFORNIA UNFAIR COMPETITION LAW
24                                Cal. Bus. & Prof. Code §§ 17200 et seq.
25                            (On Behalf of Plaintiff and the California Class)
26          72.     Plaintiff alleges and incorporates by reference the allegations in the preceding
27   paragraphs.
28
                                                      -12-
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1           73.     The foregoing conduct, as alleged, violates the California Unfair Competition Law
2    (“UCL”), Cal. Bus. & Prof. Code §§ 17200 et seq. The UCL prohibits unfair competition by
3    prohibiting, inter alia, any unlawful or unfair business acts or practices.
4           74.     Beginning at a date unknown to Plaintiff, at least as long ago as the year 2017,
5    Defendant committed acts of unfair competition, as defined by the UCL, by, among other things,
6    engaging in the acts and practices described herein. Defendant’s conduct as herein alleged has
7    injured Plaintiff and Class Members by wrongfully denying them earned wages, and therefore
8    was substantially injurious to Plaintiff and Class Members.
9           75.     Defendant engaged in unfair competition in violation of the UCL by violating,
10   inter alia, each of the following laws. Each of these violations constitutes an independent and
11   separate violation of the UCL:
12                  A.      California Labor Code §§ 510, 1194, & 1198
13                  B.      California Labor Code § 226
14                  C.      California Labor Code §§ 201–03
15                  D.      IWC Wage Order 4
16          76.     Defendant’s course of conduct, acts, and practices in violation of the California
17   laws mentioned in the above paragraph constitute a separate and independent violation of the
18   UCL. Defendant’s conduct described herein violates the policy or spirit of such laws or otherwise
19   significantly threatens or harms competition.
20          77.     The harm to Plaintiff and Class Members in being wrongfully denied lawfully
21   earned wages outweighed the utility, if any, of Defendant’s policies or practices and therefore,
22   Defendant’s actions described herein constitute an unfair business practice or act within the
23   meaning of the UCL.
24          78.     Pursuant to Business and Professions Code § 17200 et seq., Plaintiff is entitled to
25   restitution of the overtime earnings other unpaid wages alleged herein that were withheld and
26   retained by Defendant during a period that commences four years prior to the filing of this action,
27   a permanent injunction requiring Defendant to pay required wages, an award of attorneys’ fees
28   pursuant to Code of Civil Procedure § 1021.5 and other applicable law, and costs.
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1                                        SIXTH CLAIM FOR REIEF
2                                         BREACH OF CONTRACT
3                                            (On behalf of Plaintiff)
4            79.     As referenced in the preceding paragraphs, Plaintiff entered into a contract with
5    Defendant to be paid commissions pursuant to the terms of Defendant’s Sales Bonus Plan.
6            80.     Defendant breached its contract with Plaintiff when it failed to follow the Sales
7    Bonus Plan’s terms. Specifically, in the Fourth Quarter of 2020, Defendant capped Plaintiff’s
8    earned commissions without any agreement to do so, thereby denying Plaintiff the full amount of
9    commissions he was due.
10           81.     As a direct and proximate result of Defendant’s bad faith and the aforesaid
11   material breach of contract by Defendant, Plaintiff has suffered and continues to suffer damages
12   to be proven at trial.
13           WHEREFORE, Plaintiff respectfully requests judgment against Defendant for damages,
14   actual and consequential, and such other and further relief as this Court deems just and proper.
15                                          PRAYER FOR RELIEF
16           WHEREFORE, Plaintiff, on behalf of himself and all members of the FLSA Collective,
17   prays for relief as follows:
18                   A.       Designation of this action as a collective action on behalf of Plaintiff
                              and those similarly situated and prompt issuance of notice pursuant
19                            to 29 U.S.C. § 216(b) to all those similarly situated apprising them
                              of the pendency of this action, and permitting them to assert timely
20                            FLSA claims in this action by filing individual consent forms
21                            pursuant to 29 U.S.C. § 216(b);

22                   B.       Judgment against Defendant for violation of the overtime provisions
                              of the FLSA;
23
                     C.       Judgment that Defendant’s violations as described above were
24                            willful;
25
                     D.       An award in an amount equal to Plaintiff’s and the FLSA
26                            Collective’s unpaid back wages at the correct overtime rate;

27                   E.       An award to Plaintiff and the FLSA Collective for liquidated
                              damages;
28
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1                   F.      An award of reasonable attorneys’ fees and costs;
2
                    G.      An award of prejudgment interest to the extent liquidated damages
3                           are not awarded;

4                   H.      Leave to add additional plaintiffs by motion, the filing of written
                            consent forms, or any other method approved by the Court; and
5
6                   I.      For such other and further relief, in law or equity, as this Court may
                            deem appropriate and just.
7
            WHEREFORE, Plaintiff, on behalf of himself and the California Class, prays for
8
     additional relief as follows:
9
                    A.      That the Court determine that this action may be maintained as a class
10                          action under Rule 23(b)(1) and (3) of the Federal Rules of Civil Procedure.
11                  B.      That Plaintiff be designated as the representative of the Rule 23 California
12                          Class, and Plaintiff’s Counsel be designated as Class Counsel.

13                  C.      An award of unpaid overtime wages, other due wages, and injunctive
                            relief, pursuant to California law;
14
                    D.      Appropriate equitable relief to remedy Defendant’s violations of state law;
15
16                  E.      Appropriate statutory penalties;

17                  F.      An award of damages and restitution to be paid by Defendant according to
                            proof;
18
                    G.      Attorneys’ fees and costs of suit, including expert fees pursuant to Cal. Labor
19                          Code §§ 1194 and 226, and Cal. Code of Civil Procedure § 1021.5;
20
                    H.      That Defendant be further enjoined to cease and desist from the unlawful
21                          activities in violation of the state laws cited above;

22                  I.      Pre-judgment and post-judgment interest, as provided by law; and
23                  J.      Such other equitable relief as the Court may deem just and proper.
24   Dated: December 22, 2021                      NICHOLS KASTER, LLP
25
                                                   By:      s/ Daniel Brome
26                                                          Daniel Brome

27                                                 Attorney for Plaintiff, the Putative FLSA Collective
                                                   and the Putative California Class
28
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